                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
                           MILWAUKEE DIVISION

Donald J. Trump, Candidate for President               )
of the United States of America,                       )
                                                       )
                                                       )
              Plaintiff,                               )
                                                       )
vs.                                                    ) Case No. 2:-20-cv-01785-BHL
                                                       )
                                                       )
The Wisconsin Elections Commission, and                )
its members, Ann S. Jacobs, Mark L.                    )
Thomsen, Marge Bostelman, Dean                         )
Knudson, Robert F. Spindell, Jr., in their             )
official capacities, Scott McDonell in his             )
official capacity as the Dane County Clerk,            )
George L. Christenson in his official                  )
capacity as the Milwaukee County Clerk,                )
Julietta Henry in her official capacity as the         )
Milwaukee Election Director, Claire                    )
Woodall-Vogg in her official capacity as the           )
Executive Director of the Milwaukee                    )
Election Commission, Mayor Tom Barrett,                )
Jim Owczarski, Mayor Satya Rhodes-                     )
Conway, Maribeth Witzel-Behl, Mayor Cory               )
Mason, Tara Coolidge, Mayor John                       )
Antaramian, Matt Krauter, Mayor Eric                   )
Genrich, Kris Teske, in their official                 )
Capacities; Douglas J. La Follette,                    )
Wisconsin Secretary of State, in his official          )
capacity, and Tony Evers, Governor of                  )
Wisconsin, in his Official capacity.                   )


              Defendants.


                           PLAINTIFF’S NOTICE OF APPEAL

      Plaintiff Donald J. Trump, Candidate for President of the United States of

America, by counsel, hereby appeals to the United States Court of Appeals for the


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Seventh Circuit the Decision and Order (Doc 134) and the Judgment dismissing this

action with prejudice (Doc 135), each of which were entered in this action on the

12th day of December, 2020.



                                  Respectfully Submitted,

                                  KROGER, GARDIS & REGAS, LLP


                                  /s/ William Bock, III
                                  William Bock III, Indiana Attorney No. 14777-49
                                  James A. Knauer, Indiana Attorney No. 5436-49
                                  Kevin D. Koons, Indiana Attorney No. 27915-49

                                  ATTORNEYS FOR PLAINTIFF DONALD J. TRUMP

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                          CERTIFICATE OF SERVICE

      A copy of the foregoing document was served upon all parties’ counsel of
record via this Court’s CM/ECF service on this 12th day of December, 2020.


                                       /s/ William Bock, III




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